
KAVANAUGH, Circuit Judge,
dissenting:
I respectfully dissent. During the 13 months that this case was pending in the District Court, the two district judges who handled the case gave Angellino ample opportunity to pursue the suit. After An-gellino’s initial attempt to effect service failed, the district judges twice warned Angellino that his suit would be dismissed if he did not effect service. Yet Angellino never again even tried to serve the defendants. Because Angellino repeatedly failed to take the necessary steps to effect service and thereby move the suit forward, the District Court finally dismissed the case without prejudice. (Because the dismissal was without prejudice, Angellino could have filed a new suit; he has not done so.)
I find no error in the District Court’s patient handling of this matter. Moreover, when a district court dismisses a case for failure to prosecute, our review is for abuse of discretion. So even assuming the District Court faced a close call in deciding whether to dismiss this suit, our deferential standard of review surely suggests that we affirm. I respectfully dissent.
